849 F.2d 605Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mack HOLLAND, Jr., Petitioner-Appellant,v.Jerry T. WILLIFORD;  Attorney General of the State ofVirginia, Respondents- Appellees.
    No. 87-7290.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 21, 1988.Decided:  June 1, 1988.
    
      Mack Holland, Jr., appellant pro se.
      Robert Quentin Harris, Assistant Attorney General, for appellees.
      Before K.K. HALL and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Mack Holland, Jr. seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Holland v. Williford, C/A No. 86-848-AM (E.D.Va. July 20, 1987).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    